
Maetin, Judge,
concurring.
As I stated in PA 6898, which has identical reasons of appeal,4 it. should be remembered that the question of whether specific reasons of appeal are adequate depends upon the factual situation in the appeal in which the particular reasons are filed. Where in one case the reasons of appeal set forth by appellant would be sufficient, the same reasons in another appeal involving a different set of facts might not be adequate.
Therefore when an appeal is dismissed, I believe it is incumbent upon us to state specifically wherein the reasons of appeal are insufficient. Here, it seems to me that since there are several dates involved, any one of which could be determinative of the issues here presented, appellants failed to comply with the provisions of 35 U.S.C. 142 in not setting forth their position as to the board’s disposition of these dates in their reasons of appeal. Under these circumstances I would dismiss this appeal.

 The same reasons of appeal can also be found In In re Arnold and Brandt, 50 CCPA 1166, 315 F. 2d 951, 137 USPQ 330.

